Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 1 of 32 Page ID #:4700
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 2 of 32 Page ID #:4701
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 3 of 32 Page ID #:4702
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 4 of 32 Page ID #:4703
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 5 of 32 Page ID #:4704
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 6 of 32 Page ID #:4705
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 7 of 32 Page ID #:4706
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 8 of 32 Page ID #:4707
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 9 of 32 Page ID #:4708
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 10 of 32 Page ID
                                 #:4709
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 11 of 32 Page ID
                                 #:4710
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 12 of 32 Page ID
                                 #:4711
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 13 of 32 Page ID
                                 #:4712
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 14 of 32 Page ID
                                 #:4713
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 15 of 32 Page ID
                                 #:4714
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 16 of 32 Page ID
                                 #:4715
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 17 of 32 Page ID
                                 #:4716
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 18 of 32 Page ID
                                 #:4717
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 19 of 32 Page ID
                                 #:4718
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 20 of 32 Page ID
                                 #:4719
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 21 of 32 Page ID
                                 #:4720
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 22 of 32 Page ID
                                 #:4721
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 23 of 32 Page ID
                                 #:4722
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 24 of 32 Page ID
                                 #:4723
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 25 of 32 Page ID
                                 #:4724
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 26 of 32 Page ID
                                 #:4725
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 27 of 32 Page ID
                                 #:4726
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 28 of 32 Page ID
                                 #:4727
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 29 of 32 Page ID
                                 #:4728
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 30 of 32 Page ID
                                 #:4729
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 31 of 32 Page ID
                                 #:4730
Case 2:18-cv-09573-JFW-JPR Document 182 Filed 07/09/21 Page 32 of 32 Page ID
                                 #:4731
